                  Case 1:19-cv-00115-SPW Document 1-1 Filed 10/23/19 Page 1 of 6

                                                                  EXHIBIT A

    I    Charles R. Cashmore
         CASHMORE & GRANT, P.C.
    2    301 N. 27th St., Ste.I00
         Billings, MT 59101
    3    Tele: (406) 245-2194
         email: ccashlaw@eaol.com
    4
         Attorneys for Plaintiff
    5
    6
    7
    8             MONTANA THIRTEENTH JUDICIAL DISTRICT COURT
                                YELLOWSTONE COUNTY
    9
                                      ) CAUSE No.: D v  y - 12.13
                                                        A
   10    ERIN HARMS,                  )
                                                  ) JUDGE:    GREGORY R. TODD
   11                                             )
                                                  )
   12                v.                           )              SUMMONS
                                                  )
   13    VITALANT,                                )
                                                  )
   14                  Defendant.                 )
                                                  )
   15
   16
         TO: Vitalant
r_-17.
   18
                A lawsuit has been filed against you.
   19
                Within 21 days after service of this summons on you, you must serve on the
   20
         Plaintiff an answer to the attached Complaint or a motion under Rule 12 of the
   21
         Montana Rules of Civil Procedure. Do not include the day you were served in your
   22
         calculation of time. The answer or motion must be served on the Plaintiff or
   23
         Plaintiff's attorneys, if Plaintiff is represented by attorneys, whose names and
   24
         addresses are listed above.
   25
   26

                                              Summons I
fib

                             Case 1:19-cv-00115-SPW Document 1-1 Filed 10/23/19 Page 2 of 6




 1                  If you fail to respond, judgment by default will be entered against you for
 2    the relief demanded in the Complaint.
 3                  You also must file your answer or motion with the court.
 4
                                                  TERRY HALPIN
 5                                                CLERK OF DISTRICT COURT

                                 5- )9
 6
      Date: Q-
 7
            •••6
 8      .
            •
                   • • .•"


      w '
 9
                             .   •

10      :•., ".




11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
                                                       Summons - 2
    Case 1:19-cv-00115-SPW Document 1-1 Filed 10/23/19 Page 3 of 6

                   r
               . . ;11.
                   4

n19 5EP 5              59
          •FJLrD

      G     u FY
              Case 1:19-cv-00115-SPW Document 1-1 Filed 10/23/19 Page 4 of 6
                                                                                 CLERK OF T'
                                                                                DISTRICT C RI
                                                                                TERRY H PIN
 I   Charles R. Cashmore
     CASHMORE Bc GRANT, P.C.
 2   301 N. 27th St., Ste. 100                                           71219 SLP        PM 3 50
     Billings, MT 59101
 3   Tele: (406) 245-2194
     email: ccashlaw@aol.com                                               BY
4                                                                                    DEPUTY
     Attorneys for Plaintiff
 5
6
7
8                  MONTANA THIRTEENTH JUDICIAL DISTRICT COURT
                              YELLOWSTONE COUNTY .
 9
                                                                         D V. - 9 - 1 2.1 3
                                                            CAUSE NO.:
10   ERIN HARMS,
                                                            RIDGE: GREGORY R. TODD
Ii                          Plaintiff,

12   V.                                                        COMPLAINT FOR
                                                            WRONGFUL DISCHARGE FROM
13   V1TALANT,                                                 EMPLOYMENT
                                                                   AND
14                             Defendant.                      JURY DEMAND

15
16
17   Plaintiff alleges:

18           1.      Plaintiff is a resident of Billings, Yellowstone County, Montana.

19           2.      Defendant Vitalant is a corporation doing business in Montana and until April 8,

20   2019, employed Plaintiff in Billings, Yellowstone County, Montana.

21           3.      On or about April 8, 2019, Defendant discharged Plaintiff from her employment

22   with Defendant.

23           4.      Defendant's discharge of Plaintiff from her employment was wrongful under

24   §39-2-904(b) of Montana's Wrongful Discharge From Employment Act in that the discharge

25   was not for good cause and Plaintiff had completed any probationary period of employment.

26   On information and belief, the reason claimed by Defendant for Plaintiff's discharge was not

                   Verified Complaint for Wrongful Discharge from Employment and Jury Demand - I
                Case 1:19-cv-00115-SPW Document 1-1 Filed 10/23/19 Page 5 of 6



 1   the true reason but rather was a pretext designed to deprive Plaintiff of any severance pay or
2    benefits and to allow. Defendant to eliminate the job position Plaintiff held without paying her
3    any severance or otherwise incurring any severance pay or benefit obligation to her.
4              5.        On information and belief, Defendant's discharge of Plaintiff from her
5    employment was wrongful under §39-2-904(c) of Montana's Wrongful Discharge From
     Employment Act in that Defendant violated the express provisions of its own written personnel
 7   policy.
               6.        As a result of the wrongful discharge of Plaintiff by Defendant, Plaintiff is
9    entitled to lost wages and fringe benefits, together with interest thereon, for a period not to
10   exceed four years from the date of discharge less any interim earnings, all as provided for by
11   §39-2-905, MCA.
12             WHEREFORE, Plaintiff demands judgment in her favor and against Defendant as
13   follows:
14             1.        For lost wages, fringe benefits, and interest thereon in such amounts as may be
15   shown at trial;
16    —             —    For costs and such other and further relief as the Court deems proper.
17             PLAINTIFF DEMANDS TRIAL BY JURY.
                           141)
18             Dated this 6 day of August, 2019.
19
20                                                                                4,F1
21                                                          arles jt. Cashmore
                                                         Attorney for Plaintiff
22
23
24
25
26
                        Verified Complaint for Wrongful Discharge from Employment and Jury Demand -2
                 Case 1:19-cv-00115-SPW Document 1-1 Filed 10/23/19 Page 6 of 6




     2
                                                VERIFICATION
     3
     4   STATE OF MONTANA
                                     :SS
     5   County of Yellowstone
     6
                Erin Harms, after first being duly sworn upon her oath, deposes and says:
     7
                That she is the Plaintiff in this action, has read the above Complaint being filed in the
     8
         action, and hereby verifies that the facts and matters contained in the Complaint are true,
     9
    10   accurate and complete to the best of her knowledge, information and belief.

    11
                                                         Erin Harms
    12
    13                                                j
                Subscribed and sworn to before me this to day of August, 2019, by Erin Harms.
    14
    15
                   •
                   cakvi,„   CHARLES R CASHMORE
-- -16
    17
               tceom                  PUBLIC for the
                      , cc. _ rotARY Oi
                                 State Mcintena - -
                  SEA_ g Residing at Billings. Montana
                               My Commission Expires
                                                                   'nt Narne: C HA,   1,Es R. CtsimoR

                                   July 23, 2022
    18
    19
   20
   21
   22
   23
   24
   25
   26
                      Verified Complaint for Wrongful Discharge from Employment and Jury Demand - 3
